
In re Roberson, Carol; Roberson, William; — Plaintiff(s); Applying for Supervisory and/or Remedial Writs, Parish of E. Baton Rouge, 19th Judicial District Court Div. D, No. 511,837; to the Court of Appeal, First Circuit, No. 2005 CW 1745.
Granted. There are questions of intent regarding the scope of the parties’ compromise. Accordingly, the judgment of the court of appeal granting the exception of res judicata in favor of DJD, Inc. is vacated and set aside, and the case is remanded to the trial court for further proceedings. See Brown v. Drillers Inc., 93-1019 (La.1/14/94), 630 So.2d 741.
TRAYLOR, J., would deny the writ.
WEIMER, J., would deny the writ.
